                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

 UNITED STATES OF AMERICA,                            )
                      Plaintiff,                      )
                                                      )
 vs.                                                  )       CASE NO. DNCW3:05CR277-8
                                                      )       (Financial Litigation Unit)
                                                      )
 SHAWN HOWIE,                                         )
                                 Defendant,           )
 and                                                  )
                                                      )
 YELLOW ROSE CAFE & BILLIARDS,                        )
                      Garnishee.                      )

                        ORDER OF CONTINUING GARNISHMENT

       THIS MATTER is before the Court on the answer of Yellow Rose Cafe & Billiards, as

Garnishee. On August 23, 2006, the Honorable Lacy H. Thornburg sentenced Defendant to two

years probation for his conviction of Conspiracy to Defraud the United States in violation of 18

U.S.C. §§ 371 and 1349. Judgment in the criminal case was filed on August 23, 2006 (Docket No.

521). As part of that Judgment, Defendant was ordered to pay an assessment of $100.00 and

restitution of $178,545.19 to the victims of the crime. Id.

       On September 24, 2008, the Court entered a Writ of Continuing Garnishment ("Writ")

(Docket No. 636), to Garnishee, Yellow Rose Cafe & Billiards, ("Garnishee"). The United States

is entitled to a wage garnishment of up to twenty-five percent of net income and has satisfied the

prerequisites set forth in 15 U.S.C. §1673. Defendant was served with the Writ on October 15,

2008, and Garnishee was served on September 30, 2008. Garnishee filed an Answer on January

29, 2010 (Docket No. 654), stating that at the time of the service of the Writ, Garnishee had in

their custody, control or possession property or funds owned by Defendant, including non-exempt,

disposable earnings.




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       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $156,596.60 computed through August 6, 2008. The balance as of

May 21, 2015 is $50,812.81. Garnishee will pay the United States up to twenty-five percent of

Defendant's net earnings which remain after all deductions required by law have been withheld

and one hundred percent of all 1099 payments, and Garnishee will continue said payments until

the debt to the Plaintiff is paid in full or until Garnishee no longer has custody, possession or

control of any property belonging to Defendant or until further Order of this Court.

       Payments should be made payable to the United States Clerk of Court and mailed to:

                            Clerk of the United States District Court
                                     401 West Trade Street
                                      Charlotte, NC 28202

       In order to ensure that each payment is credited properly, the following should be included

on each check: Court Number DNCW3:05CR277-8.

       IT IS FURTHER ORDERED that Garnishee will advise this Court if Defendant’s

employment is terminated at any time by Garnishee or Defendant.

       Plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset Program.

Under this program, any federal payment Defendant would normally receive may be offset and

applied to this debt.



                                         Signed: June 2, 2015




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